                                                                                                                   Case 09-73631                     Doc 1
                                                                                                                                                         Filed 08/26/09 Entered 08/26/09 15:51:01 Desc Main
                                                                                                  B1 (Official Form 1) (1/08)                              Document       Page 1 of 39
                                                                                                                                            United States Bankruptcy Court                       Voluntary Petition
                                                                                                                                              Northern District of Illinois
                                                                                                   Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                    Barry, Victoria R.
                                                                                                   All Other Names used by the Debtor in the last 8 years                                         All Other Names used by the Joint Debtor in the last 8 years
                                                                                                   (include married, maiden, and trade names):                                                    (include married, maiden, and trade names):
                                                                                                    None

                                                                                                  Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                  (if more than one, state all): 3229                                               (if more than one, state all):

                                                                                                   Street Address of Debtor (No. and Street, City, and State)                                     Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                    422 Riverbend Drive
                                                                                                    Genoa, IL
                                                                                                                                                                         ZIPCODE                                                                                  ZIPCODE
                                                                                                                                                                            60135
                                                                                                   County of Residence or of the Principal Place of Business:                                     County of Residence or of the Principal Place of Business:
                                                                                                    DeKalb
                                                                                                   Mailing Address of Debtor (if different from street address):                                  Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                         ZIPCODE                                                                                  ZIPCODE

                                                                                                   Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                  ZIPCODE

                                                                                                                 Type of Debtor                                         Nature of Business                                     Chapter of Bankruptcy Code Under Which
                                                                                                              (Form of Organization)                         (Check one box)                                                        the Petition is Filed (Check one box)
                                                                                                                 (Check one box)                                 Health Care Business                                     Chapter 7
                                                                                                                                                                                                                                                    Chapter 15 Petition for
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                                                                                                      Individual (includes Joint Debtors)                        Single Asset Real Estate as defined in
                                                                                                                                                                 11 U.S.C. § 101 (51B)                                    Chapter 9                 Recognition of a Foreign
                                                                                                      See Exhibit D on page 2 of this form.
                                                                                                                                                                 Railroad                                                                           Main Proceeding
                                                                                                      Corporation (includes LLC and LLP)                                                                                  Chapter 11
                                                                                                      Partnership                                                Stockbroker                                                                        Chapter 15 Petition for
                                                                                                                                                                                                                           Chapter 12
                                                                                                      Other (If debtor is not one of the above entities,         Commodity Broker                                                                   Recognition of a Foreign
                                                                                                                                                                                                                          Chapter 13                Nonmain Proceeding
                                                                                                      check this box and state type of entity below.)            Clearing Bank
                                                                                                                                                                 Other                                                                     Nature of Debts
                                                                                                                                                                                                                                            (Check one box)
                                                                                                                                                                                                                          Debts are primarily consumer
                                                                                                                                                                            Tax-Exempt Entity                             debts, defined in 11 U.S.C.             Debts are primarily
                                                                                                                                                                          (Check box, if applicable)                      §101(8) as "incurred by an              business debts
                                                                                                                                                                    Debtor is a tax-exempt organization                   individual primarily for a
                                                                                                                                                                    under Title 26 of the United States                   personal, family, or household
                                                                                                                                                                    Code (the Internal Revenue Code)                      purpose."
                                                                                                                              Filing Fee (Check one box)                                                   Check one box:       Chapter 11 Debtors
                                                                                                          Full Filing Fee attached                                                                            Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                              Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                          Filing Fee to be paid in installments (Applicable to individuals only) Must attach               Check if:
                                                                                                          signed application for the court's consideration certifying that the debtor is unable               Debtor’s aggregate noncontingent liquidated debts (excluding debts
                                                                                                          to pay fee except in installments. Rule 1006(b). See Official Form No. 3A.                          owed to insiders or affiliates) are less than $2,190,000
                                                                                                                                                                                                           Check all applicable boxes
                                                                                                          Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        A plan is being filed with this petition.
                                                                                                          attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                              Acceptances of the plan were solicited prepetition from one or
                                                                                                                                                                                                              more classes, in accordance with 11 U.S.C. § 1126(b).
                                                                                                    Statistical/Administrative Information                                                                                                                        THIS SPACE IS FOR
                                                                                                                                                                                                                                                                  COURT USE ONLY
                                                                                                      Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                      Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                      distribution to unsecured creditors.
                                                                                                  Estimated Number of Creditors

                                                                                                   1-49           50-99          100-199           200-999          1000-            5,001-            10,001-        25,001-          50,001-       Over
                                                                                                                                                                    5000             10,000            25,000         50,000           100,000       100,000
                                                                                                  Estimated Assets

                                                                                                  $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                                  $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                                  million        million          million         million           million
                                                                                                  Estimated Liabilities

                                                                                                  $0 to          $50,001 to     $100,001 to       $500,001       $1,000,001       $10,000,001     $50,000,001       $100,000,001     $500,000,001    More than
                                                                                                  $50,000        $100,000       $500,000          to $1           to $10           to $50         to $100           to $500          to $1 billion   $1 billion
                                                                                                                                                  million        million          million         million           million
                                                                                                  B1 (OfficialCase  09-73631
                                                                                                               Form 1) (1/08)                    Doc 1          Filed 08/26/09 Entered 08/26/09 15:51:01                                              Desc Main                    Page 2
                                                                                                  Voluntary Petition                                              Document     Page
                                                                                                                                                                                Name 2
                                                                                                                                                                                     of of 39
                                                                                                                                                                                        Debtor(s):
                                                                                                  (This page must be completed and filed in every case)                                       Victoria R. Barry
                                                                                                                        All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                  Location                                                                             Case Number:                                           Date Filed:
                                                                                                  Where Filed:
                                                                                                                         NONE

                                                                                                   Location                                                                             Case Number:                                          Date Filed:
                                                                                                   Where Filed:
                                                                                                                   N.A.
                                                                                                     Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                   Name of Debtor: NONE                                     Case Number:                           Date Filed:


                                                                                                   District:                                                                            Relationship:                                          Judge:


                                                                                                                                  Exhibit A                                                                                         Exhibit B
                                                                                                                                                                                                                    (To be completed if debtor is an individual
                                                                                                  (To be completed if debtor is required to file periodic reports (e.g., forms                                      whose debts are primarily consumer debts)
                                                                                                  10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                  Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting            I, the attorney for the petitioner named in the foregoing petition, declare that I have informed
                                                                                                                                                                                          the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13 of title 11, United
                                                                                                  relief under chapter 11)                                                                States Code, and have explained the relief available under each such chapter.
                                                                                                                                                                                          I further certify that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).




                                                                                                           Exhibit A is attached and made a part of this petition.                        X         /s/ Richard H. Schmack
                                                                                                                                                                                                Signature of Attorney for Debtor(s)                              Date


                                                                                                                                                                               Exhibit C
                                                                                                  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
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                                                                                                           Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                           No

                                                                                                                                                                                 Exhibit D
                                                                                                    (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                               Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                   If this is a joint petition:
                                                                                                               Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                              Information Regarding the Debtor - Venue
                                                                                                                                                                          (Check any applicable box)
                                                                                                                           Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days
                                                                                                                           immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                           There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                           Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District,
                                                                                                                           or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state
                                                                                                                           court] in this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                     Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                            (Check all applicable boxes)
                                                                                                                           Landlord has a judgment for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                           (Name of landlord that obtained judgment)


                                                                                                                                                                            (Address of landlord)
                                                                                                                           Debtor claims that under applicable non bankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                           entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                           Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                                                                                                                           period after the filing of the petition.
                                                                                                                           Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                                  Case 09-73631                Doc 1         Filed 08/26/09 Entered 08/26/09 15:51:01                                              Desc Main
                                                                                                  B1 (Official Form 1) (1/08)                                  Document     Page 3 of 39                                                                                          Page 3
                                                                                                  Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                  (This page must be completed and filed in every case)                                 Victoria R. Barry
                                                                                                                                                                                 Signatures
                                                                                                              Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
                                                                                                    I declare under penalty of perjury that the information provided in this petition
                                                                                                    is true and correct.
                                                                                                    [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                    has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                    chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                    available under each such chapter, and choose to proceed under chapter 7.
                                                                                                    [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                    petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                     I request relief in accordance with chapter 15 of title 11, United States
                                                                                                    I request relief in accordance with the chapter of title 11, United States                       Code. Certified copies of the documents required by § 1515 of title 11 are
                                                                                                    Code, specified in this petition.                                                                attached.

                                                                                                                                                                                                     Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                     title 11 specified in this petition.  A certified copy of the order granting
                                                                                                                                                                                                     recognition of the foreign main proceeding is attached.
                                                                                                    X /s/ Victoria R. Barry
                                                                                                        Signature of Debtor                                                                  X
                                                                                                                                                                                                 (Signature of Foreign Representative)
                                                                                                    X
                                                                                                        Signature of Joint Debtor

                                                                                                                                                                                                 (Printed Name of Foreign Representative)
                                                                                                         Telephone Number (If not represented by attorney)
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                                                                                                         Date                                                                                     (Date)

                                                                                                                         Signature of Attorney*
                                                                                                   X       /s/ Richard H. Schmack                                                                   Signature of Non-Attorney Petition Preparer
                                                                                                        Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer
                                                                                                                                                                                          as defined in 11 U.S.C. § 110, 2) I prepared this document for compensation,
                                                                                                        RICHARD H. SCHMACK 3127667                                                        and have provided the debtor with a copy of this document and the notices
                                                                                                        Printed Name of Attorney for Debtor(s)                                            and information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and,
                                                                                                                                                                                          3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110
                                                                                                                                                                                          setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                        Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                        584 West State Street                                                             document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                        Address                                                                           required in that section. Official Form 19 is attached.
                                                                                                        Sycamore, IL 60178
                                                                                                                                                                                          Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                        815-895-2074
                                                                                                       Telephone Number
                                                                                                                                                                                          Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                                                                                                          state the Social Security number of the officer, principal, responsible person or
                                                                                                      Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                   *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                   certification that the attorney has no knowledge after an inquiry that the
                                                                                                   information in the schedules is incorrect.                                              Address

                                                                                                           Signature of Debtor (Corporation/Partnership)
                                                                                                     I declare under penalty of perjury that the information provided in this petition
                                                                                                     is true and correct, and that I have been authorized to file this petition on       X
                                                                                                     behalf of the debtor.

                                                                                                     The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                     United States Code, specified in this petition.
                                                                                                                                                                                             Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                             person, or partner whose Social Security number is provided above.
                                                                                                   X
                                                                                                        Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                             not an individual:
                                                                                                        Printed Name of Authorized Individual
                                                                                                                                                                                             If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                             conforming to the appropriate official form for each person.
                                                                                                        Title of Authorized Individual
                                                                                                                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                             and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                       Date                                                                                  imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
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                                                                                                  B1 D (Official Form 1, Exhibit D ) (12/08)


                                                                                                                                      UNITED STATES BANKRUPTCY COURT
                                                                                                                                                 Northern District of Illinois




                                                                                                        Victoria R. Barry
                                                                                                  In re______________________________________                                Case No._____________
                                                                                                                  Debtor(s)                                                        (if known)


                                                                                                             EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                             CREDIT COUNSELING REQUIREMENT

                                                                                                          Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                  credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                  case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                  filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                  you. If your case is dismissed and you file another bankruptcy case later, you may be
                                                                                                  required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                  collection activities.
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                                                                                                         Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                  must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                  any documents as directed.

                                                                                                         1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                  from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                  administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                  performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                  services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                  developed through the agency.

                                                                                                          2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                  from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                  administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                  performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                  the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                  services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                  no later than 15 days after your bankruptcy case is filed.
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                                                                                                  B1 D (Official Form 1, Exh. D) (12/08) – Cont.                                                Page 2


                                                                                                          3. I certify that I requested credit counseling services from an approved agency but
                                                                                                  was unable to obtain the services during the five days from the time I made my request, and the
                                                                                                  following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                  so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                         If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                  counseling briefing within the first 30 days after you file your bankruptcy case and
                                                                                                  promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                  copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                  requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                  can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                  be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                  without first receiving a credit counseling briefing.

                                                                                                         4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                  applicable statement.] [Must be accompanied by a motion for determination by the court.]
                                                                                                                 Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                         illness or mental deficiency so as to be incapable of realizing and making rational
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                                                                                                         decisions with respect to financial responsibilities.);
                                                                                                                 Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                         extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                         briefing in person, by telephone, or through the Internet.);
                                                                                                                 Active military duty in a military combat zone.

                                                                                                         5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                  counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                         I certify under penalty of perjury that the information provided above is true and
                                                                                                  correct.



                                                                                                                               Signature of Debtor:              /s/ Victoria R. Barry
                                                                                                                                                                VICTORIA R. BARRY


                                                                                                                                                    Date: _________________
                                                                                                  Case 09-73631       Doc 1     Filed 08/26/09 Entered 08/26/09 15:51:01              Desc Main
                                                                                                                                  Document     Page 6 of 39



                                                                                                  B6 Cover (Form 6 Cover) (12/07)



                                                                                                  FORM 6. SCHEDULES

                                                                                                  Summary of Schedules
                                                                                                  Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                  Schedule A - Real Property
                                                                                                  Schedule B - Personal Property
                                                                                                  Schedule C - Property Claimed as Exempt
                                                                                                  Schedule D - Creditors Holding Secured Claims
                                                                                                  Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                  Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                  Schedule G - Executory Contracts and Unexpired Leases
                                                                                                  Schedule H - Codebtors
                                                                                                  Schedule I - Current Income of Individual Debtor(s)
                                                                                                  Schedule J - Current Expenditures of Individual Debtor(s)
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                                                                                                  Unsworn Declaration under Penalty of Perjury


                                                                                                  GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                  amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                  identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                  the case number should be left blank

                                                                                                  Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                  claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                  A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                  which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                  the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                  transactions, each claim should be scheduled separately.

                                                                                                  Review the specific instructions for each schedule before completing the schedule.
                                                                                                                 Case
                                                                                                  B6A (Official Form 6A)09-73631
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                                                                                                  In re    Victoria R. Barry                                                                     Case No.
                                                                                                                             Debtor                                                                                                    (If known)

                                                                                                                                                  SCHEDULE A - REAL PROPERTY
                                                                                                     Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                  tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                  the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                  “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                  “Description and Location of Property.”

                                                                                                    Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                  Unexpired Leases.

                                                                                                      If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                  claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                     If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                  Property Claimed as Exempt.




                                                                                                                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                                                                                          OR COMMUNITY
                                                                                                                                                                                                                                 CURRENT VALUE
                                                                                                                                                                                                                                   OF DEBTOR’S
                                                                                                                DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN      AMOUNT OF
                                                                                                                       OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                 DEDUCTING ANY        CLAIM
                                                                                                                                                                                                                                 SECURED CLAIM
                                                                                                                                                                                                                                  OR EXEMPTION
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                                                                                                   Homestead Real Estate owned jointly with                      Fee Simple                                                           217,914.00      198,320.78
                                                                                                   Steven P. Guthrie
                                                                                                   422 Riverbend Drive
                                                                                                   Genoa, IL 60135




                                                                                                                                                                                                Total
                                                                                                                                                                                                                                      217,914.00

                                                                                                                                                                                                (Report also on Summary of Schedules.)
                                                                                                                 Case
                                                                                                  B6B (Official Form 6B)09-73631
                                                                                                                         (12/07)                           Doc 1      Filed 08/26/09 Entered 08/26/09 15:51:01                       Desc Main
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                                                                                                  In re     Victoria R. Barry                                                                       Case No.
                                                                                                                                    Debtor                                                                             (If known)

                                                                                                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                                       Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                  place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                  identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                  community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                  individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                      Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                  Unexpired Leases.

                                                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                  If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                  "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                            N                                                                                          IN PROPERTY,
                                                                                                              TYPE OF PROPERTY                              O                    DESCRIPTION AND LOCATION                                                WITHOUT
                                                                                                                                                            N                          OF PROPERTY                                                   DEDUCTING ANY
                                                                                                                                                            E                                                                                        SECURED CLAIM
                                                                                                                                                                                                                                                      OR EXEMPTION


                                                                                                    1. Cash on hand.                                        X
                                                                                                    2. Checking, savings or other financial accounts,              Savings Account #23123660                                                                  85.26
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                                                                                                    certificates of deposit, or shares in banks, savings
                                                                                                    and loan, thrift, building and loan, and homestead             Corporate America Family C. U.
                                                                                                    associations, or credit unions, brokerage houses,
                                                                                                    or cooperatives.
                                                                                                                                                                   2075 Big Timber Road
                                                                                                                                                                   Elgin, IL 60123

                                                                                                                                                                   Checking Account # xxx9405                                                                 37.20
                                                                                                                                                                   National Bank & Trust Company
                                                                                                                                                                   230 West State Street
                                                                                                                                                                   Sycamore, IL 60178

                                                                                                                                                                   Checking Account # xxx5257                                                                503.04
                                                                                                                                                                   American National Bank
                                                                                                                                                                   124 South Main Street
                                                                                                                                                                   Sycamore, IL 60178

                                                                                                    3. Security deposits with public utilities,             X
                                                                                                    telephone companies, landlords, and others.

                                                                                                    4. Household goods and furnishings, including                  Computer, laptop computer, bed                                                            550.00
                                                                                                    audio, video, and computer equipment.
                                                                                                                                                                   Debtor's Residence

                                                                                                                                                                   Son's bedroom furniture                                                                   100.00
                                                                                                                                                                   Debtor's Residence

                                                                                                                                                                   Chair                                                                                      75.00
                                                                                                                                                                   Debtor's Residence
                                                                                                                 Case
                                                                                                  B6B (Official Form 6B)09-73631
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                                                                                                                                    Debtor                                                                     (If known)

                                                                                                                                                       SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                                                    HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                           CURRENT VALUE OF




                                                                                                                                                                                                                      OR COMMUNITY
                                                                                                                                                                                                                                           DEBTOR’S INTEREST
                                                                                                                                                           N                                                                                  IN PROPERTY,
                                                                                                              TYPE OF PROPERTY                             O                     DESCRIPTION AND LOCATION                                       WITHOUT
                                                                                                                                                           N                           OF PROPERTY                                          DEDUCTING ANY
                                                                                                                                                           E                                                                                SECURED CLAIM
                                                                                                                                                                                                                                             OR EXEMPTION



                                                                                                                                                                  Dinnerware, Cookware, Kitchen Supplies                                            100.00
                                                                                                                                                                  Debtor's Residence

                                                                                                    5. Books. Pictures and other art objects,                     CDs                                                                                20.00
                                                                                                    antiques, stamp, coin, record, tape, compact disc,
                                                                                                    and other collections or collectibles.                        Debtor's Residence

                                                                                                    6. Wearing apparel.                                           Miscellaneous Clothing                                                            100.00
                                                                                                                                                                  Debtor's Residence
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                                                                                                    7. Furs and jewelry.                                   X
                                                                                                    8. Firearms and sports, photographic, and other        X
                                                                                                    hobby equipment.

                                                                                                    9. Interests in insurance policies. Name               X
                                                                                                    insurance company of each policy and itemize
                                                                                                    surrender or refund value of each.

                                                                                                    10. Annuities. Itemize and name each issuer.           X
                                                                                                    11. Interests in an education IRA as defined in 26            529 College Savinigs Plan opened 1/31/2003                                      5,584.57
                                                                                                    U.S.C. § 530(b)(1) or under a qualified State
                                                                                                    tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                    Give particulars. (File separately the record(s) of
                                                                                                    any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                    12. Interests in IRA, ERISA, Keogh, or other                  401(k)                                                                         48,000.00
                                                                                                    pension or profit sharing plans. Give particulars.
                                                                                                                                                                  DSM Desotech Inc.
                                                                                                                                                                  1122 St. Charles Street
                                                                                                                                                                  Elgin, IL 60120

                                                                                                    13. Stock and interests in incorporated and            X
                                                                                                    unincorporated businesses. Itemize.

                                                                                                    14. Interests in partnerships or joint ventures.       X
                                                                                                    Itemize.

                                                                                                    15. Government and corporate bonds and other           X
                                                                                                    negotiable and non-negotiable instruments.

                                                                                                    16. Accounts receivable.                               X
                                                                                                    17. Alimony, maintenance, support, and property               Child Support Arrearage                                                         9,611.00
                                                                                                    settlement to which the debtor is or may be
                                                                                                    entitled. Give particulars.
                                                                                                                 Case
                                                                                                  B6B (Official Form 6B)09-73631
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                                                                                                  In re     Victoria R. Barry                                                                      Case No.
                                                                                                                                     Debtor                                                                   (If known)

                                                                                                                                                      SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                                                   HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                          CURRENT VALUE OF




                                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                                          DEBTOR’S INTEREST
                                                                                                                                                            N                                                                                IN PROPERTY,
                                                                                                              TYPE OF PROPERTY                              O                     DESCRIPTION AND LOCATION                                     WITHOUT
                                                                                                                                                            N                           OF PROPERTY                                        DEDUCTING ANY
                                                                                                                                                            E                                                                              SECURED CLAIM
                                                                                                                                                                                                                                            OR EXEMPTION



                                                                                                                                                                   Teddy G. Battles, Jr.
                                                                                                                                                                   444 Franklin Street
                                                                                                                                                                   Belvidere, IL 61008

                                                                                                    18. Other liquidated debts owing debtor including       X
                                                                                                    tax refunds. Give particulars.

                                                                                                    19. Equitable or future interests, life estates, and    X
                                                                                                    rights or powers exercisable for the benefit of the
                                                                                                    debtor other than those listed in Schedule A -
                                                                                                    Real Property.

                                                                                                    20. Contingent and noncontingent interests in           X
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                                                                                                    estate or a decedent, death benefit plan, life
                                                                                                    insurance policy, or trust.

                                                                                                    21. Other contingent and unliquidated claims of         X
                                                                                                    every nature, including tax refunds, counterclaims
                                                                                                    of the debtor, and rights of setoff claims. Give
                                                                                                    estimated value of each.

                                                                                                    22. Patents, copyrights, and other intellectual         X
                                                                                                    property. Give particulars.

                                                                                                    23. Licenses, franchises, and other general             X
                                                                                                    intangibles. Give particulars.

                                                                                                    24. Customer lists or other compilations                X
                                                                                                    containing personally identifiable information (as
                                                                                                    defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                    debtor by individuals in connection with obtaining
                                                                                                    a product or service from the debtor primarily for
                                                                                                    personal, family, or household purposes.

                                                                                                    25. Automobiles, trucks, trailers, and other                   2008 Jeep Liberty                                                            15,150.00
                                                                                                    vehicles and accessories.
                                                                                                                                                                   Debtor's Residence

                                                                                                    26. Boats, motors, and accessories.                     X
                                                                                                    27. Aircraft and accessories.                           X
                                                                                                    28. Office equipment, furnishings, and supplies.        X
                                                                                                    29. Machinery, fixtures, equipment, and supplies        X
                                                                                                    used in business.

                                                                                                    30. Inventory.                                          X
                                                                                                    31. Animals.                                            X
                                                                                                    32. Crops - growing or harvested. Give                  X
                                                                                                    particulars.
                                                                                                                Case6B)09-73631
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                                                                                                                                   Debtor                                                                        (If known)

                                                                                                                                                  SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                               (Continuation Sheet)




                                                                                                                                                                                                                           HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                  CURRENT VALUE OF




                                                                                                                                                                                                                             OR COMMUNITY
                                                                                                                                                                                                                                                  DEBTOR’S INTEREST
                                                                                                                                                    N                                                                                                IN PROPERTY,
                                                                                                              TYPE OF PROPERTY                      O               DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                    N                     OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                    E                                                                                              SECURED CLAIM
                                                                                                                                                                                                                                                    OR EXEMPTION


                                                                                                    33. Farming equipment and implements.           X
                                                                                                    34. Farm supplies, chemicals, and feed.         X
                                                                                                    35. Other personal property of any kind not     X
                                                                                                    already listed. Itemize.
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                                                                                                                                                                        0                                                                         $
                                                                                                                                                                               continuation sheets attached        Total                                79,916.07
                                                                                                                                                                               (Include amounts from any continuation
                                                                                                                                                                                 sheets attached. Report total also on
                                                                                                                                                                                       Summary of Schedules.)
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                                                                                                  In re    Victoria R. Barry                                                            Case No.
                                                                                                                            Debtor                                                                            (If known)

                                                                                                                           SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                    Debtor claims the exemptions to which debtor is entitled under:
                                                                                                    (Check one box)

                                                                                                          11 U.S.C. § 522(b)(2)                                         Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                        $136,875.
                                                                                                          11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                         CURRENT
                                                                                                                                                                 SPECIFY LAW                     VALUE OF           VALUE OF PROPERTY
                                                                                                              DESCRIPTION OF PROPERTY                          PROVIDING EACH                    CLAIMED            WITHOUT DEDUCTING
                                                                                                                                                                  EXEMPTION                     EXEMPTION               EXEMPTION


                                                                                                     Homestead Real Estate owned jointly with        735 I.L.C.S 5§12-901                             15,000.00                217,914.00
                                                                                                     Steven P. Guthrie

                                                                                                     Savings Account #23123660                       735 I.L.C.S 5§12-1001(b)                             85.26                       85.26

                                                                                                     Checking Account # xxx9405                      735 I.L.C.S 5§12-1001(b)                             37.20                       37.20

                                                                                                     Checking Account # xxx5257                      735 I.L.C.S 5§12-1001(b)                            503.04                      503.04
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                                                                                                     2008 Jeep Liberty                               735 I.L.C.S 5§12-1001(c)                          2,400.00                 15,150.00

                                                                                                     529 College Savinigs Plan opened                735 I.L.C.S 5§12-1001(b)                            600.00                     5,584.57
                                                                                                     1/31/2003                                       11 USC 541(B)(6)                                  4,984.57

                                                                                                     CDs                                             735 I.L.C.S 5§12-1001(b)                             20.00                       20.00

                                                                                                     Miscellaneous Clothing                          735 I.L.C.S 5§12-1001(a)                            100.00                      100.00

                                                                                                     Computer, laptop computer, bed                  735 I.L.C.S 5§12-1001(b)                            550.00                      550.00

                                                                                                     401(k)                                          735 I.L.C.S 5§12-1006                            48,000.00                 48,000.00

                                                                                                     Child Support Arrearage                         735 I.L.C.S 5§12-1001(g)(4)                       9,611.00                     9,611.00

                                                                                                     Son's bedroom furniture                         735 I.L.C.S 5§12-1001(b)                            100.00                      100.00

                                                                                                     Chair                                           735 I.L.C.S 5§12-1001(b)                             75.00                       75.00

                                                                                                     Dinnerware, Cookware, Kitchen Supplies          735 I.L.C.S 5§12-1001(b)                            100.00                      100.00
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                                                                                                           Victoria R. Barry
                                                                                                  In re _______________________________________________,                                                               Case No. _________________________________
                                                                                                                                 Debtor                                                                                                                               (If known)

                                                                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                             State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                  by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                  useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                  such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                              List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                  address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                  §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                             If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                  include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                  husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                  "Husband, Wife, Joint, or Community."
                                                                                                             If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                  labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                  one of these three columns.)
                                                                                                             Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                  labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                  Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                  the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                            Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                                 AMOUNT
                                                                                                                                                             HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                                                                       DATE CLAIM WAS INCURRED,                                                     OF
                                                                                                                                                  CODEBTOR




                                                                                                                                                                                                                                                    DISPUTED
                                                                                                                                                               ORCOMMUNITY




                                                                                                             CREDITOR’S NAME,
                                                                                                              MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                     CLAIM            UNSECURED
                                                                                                            INCLUDING ZIP CODE,                                                            DESCRIPTION AND                                                       WITHOUT            PORTION,
                                                                                                           AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                     DEDUCTING            IF ANY
                                                                                                             (See Instructions Above.)                                                      SUBJECT TO LIEN                                                      VALUE OF
                                                                                                                                                                                                                                                               COLLATERAL


                                                                                                  ACCOUNT NO. 86814xxxx                                                             Lien: PMSI in vehicle < 910 days                                                                 7,738.00
                                                                                                  Fifth Third Bank                                                                  Security: 2008 Jeep Liberty
                                                                                                  38 Fountain Square Plaza                                                                                                                                        22,888.00
                                                                                                  MD 1-Com-64
                                                                                                  Cincinnati, OH 45263-0778
                                                                                                                                                                                    VALUE $                15,150.00
                                                                                                  ACCOUNT NO. xxxxxx3680                                                            Lien: 1st Mortgage
                                                                                                  US Bank                                                                           Security: Homestead Real Estate
                                                                                                  4801 Frederica Street                                                             owned jointly
                                                                                                                                                 X                                                                                                               198,320.78              0.00
                                                                                                  Owensboro, KY 42301

                                                                                                                                                                                    VALUE $               217,914.00
                                                                                                  ACCOUNT NO.




                                                                                                                                                                                     VALUE $

                                                                                                     0
                                                                                                   _______continuation sheets attached                                                                                 Subtotal     $ 221,208.78                              $      7,738.00
                                                                                                                                                                                                               (Total of this page)
                                                                                                                                                                                                                           Total    $ 221,208.78                              $      7,738.00
                                                                                                                                                                                                            (Use only on last page)
                                                                                                                                                                                                                                                     (Report also on       (If applicable, report
                                                                                                                                                                                                                                                     Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                           Summary of Certain
                                                                                                                                                                                                                                                                           Liabilities and Related
                                                                                                                                                                                                                                                                           Data.)
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                                                                                                             Victoria R. Barry
                                                                                                     In re________________________________________________________________,                        Case No.______________________________
                                                                                                                             Debtor                                                                              (if known)

                                                                                                          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                    unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                    address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                    property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                    the type of priority.

                                                                                                           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                    the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                    "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                            If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                    entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                    both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                    Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                    in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                    more than one of these three columns.)

                                                                                                          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                    Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                              Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
                                                                                                    amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
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                                                                                                    primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                             Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                    amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                    with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                    Data.



                                                                                                        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                   TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                         Domestic Support Obligations

                                                                                                         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                  or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                  11 U.S.C. § 507(a)(1).


                                                                                                         Extensions of credit in an involuntary case

                                                                                                        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                  appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                         Wages, salaries, and commissions

                                                                                                           Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                   independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                   cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                         Contributions to employee benefit plans

                                                                                                              Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                      cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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                                                                                                               Victoria R. Barry
                                                                                                        In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                Debtor                                                                            (if known)




                                                                                                         Certain farmers and fishermen
                                                                                                       Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                         Deposits by individuals
                                                                                                       Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                   that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                         Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                       Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
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                                                                                                         Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                      Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                   Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                   U.S.C. § 507 (a)(9).



                                                                                                         Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                  alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                  alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                                                    * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                    adjustment.




                                                                                                                                                             0
                                                                                                                                                            ____ continuation sheets attached
                                                                                                                Case 09-73631                  Doc 1                     Filed 08/26/09 Entered 08/26/09 15:51:01                                                          Desc Main
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                                                                                                           Victoria R. Barry
                                                                                                   In re __________________________________________,                                                                       Case No. _________________________________
                                                                                                                                  Debtor                                                                                                                              (If known)

                                                                                                        SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                               State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                   against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                   useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                   of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                   1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                              If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                   appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                   community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                             If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                   "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                             Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                   Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                   Related Data.
                                                                                                            Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                  HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                    ORCOMMUNITY




                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                                       CODEBTOR




                                                                                                                                                                                              DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                              CREDITOR’S NAME,                                                                                                                                                       AMOUNT
                                                                                                               MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                              IF CLAIM IS SUBJECT TO SETOFF,                                                           OF
                                                                                                             INCLUDING ZIP CODE,                                                                                                                                                      CLAIM
                                                                                                            AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                              (See instructions above.)
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                                                                                                  ACCOUNT NO.         xxxxxxxxxxxxx6804                                                  Consideration: Credit card debt
                                                                                                  Chase
                                                                                                  Cardmember Service                                                                                                                                                                      4,353.00
                                                                                                  P.O.Box 15153
                                                                                                  Wilmington, DE 19886-5153


                                                                                                  ACCOUNT NO.         xxxxxxxxxxxx7094                                                   Consideration: Credit card debt
                                                                                                  Chase
                                                                                                  Cardmember Service                                                                                                                                                                      3,303.00
                                                                                                  P.O.Box 15153
                                                                                                  Wilmington, DE 19886-5153


                                                                                                  ACCOUNT NO.         7945012906216xxxx                                                  Consideration: Credit card debt
                                                                                                  Citi Bank / DFS
                                                                                                  12234 NIH 35 Bldg B                                                                                                                                                                     1,079.00
                                                                                                  Austin, TX 78753-1705



                                                                                                  ACCOUNT NO.         xxxxxxxxxxxx6996                                                   Consideration: Credit card debt
                                                                                                  Citi Card
                                                                                                  Box 6000                                                                                                                                                                               23,275.00
                                                                                                  The Lakes, NV 89163-6000




                                                                                                        1
                                                                                                      _______continuation sheets attached                                                                                               Subtotal                                 $       32,010.00
                                                                                                                                                                                                                      Total                                                      $
                                                                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                                                                   (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                         Summary of Certain Liabilities and Related Data.)
                                                                                                               Case 09-73631               Doc 1                      Filed 08/26/09 Entered 08/26/09 15:51:01                                                              Desc Main
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                                                                                                  B6F (Official Form 6F) (12/07) - Cont.


                                                                                                            Victoria R. Barry
                                                                                                    In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                     Debtor                                                                                                                             (If known)


                                                                                                       SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                            (Continuation Sheet)




                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                               ORCOMMUNITY




                                                                                                                                                                                                                                                         UNLIQUIDATED
                                                                                                                                                                                                                                            CONTINGENT
                                                                                                                                                  CODEBTOR
                                                                                                             CREDITOR’S NAME,
                                                                                                                                                                                              DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                         DISPUTED
                                                                                                              MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                            INCLUDING ZIP CODE,
                                                                                                                                                                                              IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                           AND ACCOUNT NUMBER
                                                                                                             (See instructions above.)


                                                                                                  ACCOUNT NO.      xxxxxxxx-x 1875                                                   Consideration: Credit card debt
                                                                                                  Corporate America Family C. U.
                                                                                                  2075 Big Timber Road                                                                                                                                                                    1,850.42
                                                                                                  Elgin, IL 60123
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                                                                                                  ACCOUNT NO.      xxxxxxxxxx1421                                                    Consideration: Credit card debt
                                                                                                  Lowe's Customer Care
                                                                                                  CONB                                                                                                                                                                                    1,863.41
                                                                                                  P.O.Box 1111
                                                                                                  North Wilkerson, NC 28656


                                                                                                  ACCOUNT NO.




                                                                                                  ACCOUNT NO.




                                                                                                   ACCOUNT NO.




                                                                                                             1 of _____continuation
                                                                                                  Sheet no. _____    1                sheets attached                                                                                     Subtotal                                  $     3,713.83
                                                                                                  to Schedule of Creditors Holding Unsecured
                                                                                                  Nonpriority Claims                                                                                                                          Total                                 $    35,723.83
                                                                                                                                                                                                (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                    (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                       Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                 Case 09-73631             Doc 1        Filed 08/26/09 Entered 08/26/09 15:51:01                               Desc Main
                                                                                                  B6G (Official Form 6G) (12/07)
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                                                                                                          Victoria R. Barry                                                          Case No.
                                                                                                  In re
                                                                                                                            Debtor                                                                               (if known)

                                                                                                          SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                              Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                    State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                    names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                    contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                    guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                          Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                          NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                            OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                         NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                               Case 09-73631              Doc 1        Filed 08/26/09 Entered 08/26/09 15:51:01                             Desc Main
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                                                                                                  In re   Victoria R. Barry                                                         Case No.
                                                                                                                           Debtor                                                                              (if known)


                                                                                                                                              SCHEDULE H - CODEBTORS
                                                                                                      Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                  debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                  property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                  Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                  name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                  commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                  commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                  parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                  Fed. Bankr. P. 1007(m).
                                                                                                      Check this box if debtor has no codebtors.



                                                                                                                NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR


                                                                                                     Steven P. Guthrie                                                            US Bank
                                                                                                     422 Riverbend Drive                                                          4801 Frederica Street
                                                                                                     Genoa, IL 600135                                                             Owensboro, KY 42301
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                                                                                                                  Case 09-73631          Doc 1       Filed 08/26/09 Entered 08/26/09 15:51:01                            Desc Main
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                                                                                                  B6I (Official Form 6I) (12/07)


                                                                                                               Victoria R. Barry
                                                                                                  In re                                                                                       Case
                                                                                                                          Debtor                                                                                 (if known)
                                                                                                                          SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                  The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
                                                                                                  filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
                                                                                                  calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.

                                                                                                   Debtor’s Marital                                                   DEPENDENTS OF DEBTOR AND SPOUSE
                                                                                                   Status:   Single                RELATIONSHIP(S): Son                                                              AGE(S): 11
                                                                                                   Employment:                             DEBTOR                                                                 SPOUSE
                                                                                                   Occupation                        SHE Professional
                                                                                                   Name of Employer                  DSM Desotech, Inc.
                                                                                                   How long employed                 14 years
                                                                                                   Address of Employer               1122 St. Charles Street                                                        N.A.
                                                                                                                                     Elgin, IL 60120

                                                                                                  INCOME: (Estimate of average or projected monthly income at time case filed)                                  DEBTOR                  SPOUSE
                                                                                                  1. Monthly gross wages, salary, and commissions
                                                                                                                                                                                                                  4,679.18
                                                                                                                                                                                                             $ _____________                  N.A.
                                                                                                                                                                                                                                    $ _____________
                                                                                                        (Prorate if not paid monthly.)
                                                                                                  2. Estimated monthly overtime                                                                                       0.00
                                                                                                                                                                                                             $ _____________                  N.A.
                                                                                                                                                                                                                                    $ _____________

                                                                                                  3. SUBTOTAL                                                                                                      4,679.18
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
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                                                                                                  4. LESS PAYROLL DEDUCTIONS
                                                                                                                                                                                                                     944.49
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                          a.   Payroll taxes and social security
                                                                                                                                                                                                                     244.26
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                          b.   Insurance
                                                                                                          c.   Union Dues                                                                                              0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                          d.                    401(k)($93.74; 529 Plan ($107.14)
                                                                                                               Other (Specify:___________________________________________________________)                           200.88
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                1,389.63
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  6.. TOTAL NET MONTHLY TAKE HOME PAY                                                                              3,289.55
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  7. Regular income from operation of business or profession or farm                                                   0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                     (Attach detailed statement)
                                                                                                  8. Income from real property                                                                                         0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  9. Interest and dividends                                                                                            0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  10. Alimony, maintenance or support payments payable to the debtor for the
                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                     debtor’s use or that of dependents listed above.
                                                                                                  11. Social security or other government assistance
                                                                                                                                                                                                                       0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                     ( Specify)
                                                                                                  12. Pension or retirement income                                                                                     0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  13. Other monthly income                                                                                             0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                      (Specify)                                                                                                        0.00
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________
                                                                                                  14. SUBTOTAL OF LINES 7 THROUGH 13                                                                          $ _____________
                                                                                                                                                                                                                       0.00          $ _____________
                                                                                                                                                                                                                                              N.A.
                                                                                                  15. AVERAGE MONTHLY INCOME (Add amounts shown on Lines 6 and 14)                                                 3,289.55
                                                                                                                                                                                                              $ _____________                 N.A.
                                                                                                                                                                                                                                     $ _____________

                                                                                                  16. COMBINED AVERAGE MONTHLY INCOME (Combine column totals                                                               $ _____________
                                                                                                                                                                                                                                 3,289.55
                                                                                                      from line 15)
                                                                                                                                                                                         (Report also on Summary of Schedules and, if applicable,
                                                                                                                                                                                         on Statistical Summary of Certain Liabilities and Related Data)

                                                                                                  17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                                                           None
                                                                                                                Case
                                                                                                     B6J (Official      09-73631
                                                                                                                   Form 6J) (12/07)         Doc 1       Filed 08/26/09 Entered 08/26/09 15:51:01                            Desc Main
                                                                                                                                                         Document     Page 21 of 39
                                                                                                   In re Victoria R. Barry                                                                   Case No.
                                                                                                                        Debtor                                                                                 (if known)

                                                                                                            SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                               Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case
                                                                                                    filed. Prorate any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses
                                                                                                    calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

                                                                                                          Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of expenditures
                                                                                                          labeled “Spouse.”


                                                                                                  1. Rent or home mortgage payment (include lot rented for mobile home)                                                                $ _____________
                                                                                                                                                                                                                                                944.55
                                                                                                             a. Are real estate taxes included?                 Yes ________ No ________
                                                                                                             b. Is property insurance included?                 Yes ________ No ________
                                                                                                  2. Utilities: a. Electricity and heating fuel                                                                                        $ ______________
                                                                                                                                                                                                                                                 70.00
                                                                                                                 b. Water and sewer                                                                                                    $ ______________
                                                                                                                                                                                                                                                 60.00
                                                                                                                 c. Telephone                                                                                                          $ ______________
                                                                                                                                                                                                                                                 46.00
                                                                                                                           Internet & Cable
                                                                                                                 d. Other ___________________________________________________________________                                          $ ______________
                                                                                                                                                                                                                                                129.00
                                                                                                  3. Home maintenance (repairs and upkeep)                                                                                             $ ______________
                                                                                                                                                                                                                                                 50.00
                                                                                                  4. Food                                                                                                                              $ ______________
                                                                                                                                                                                                                                                400.00
                                                                                                  5. Clothing                                                                                                                          $ ______________
                                                                                                                                                                                                                                                150.00
                                                                                                  6. Laundry and dry cleaning                                                                                                          $ ______________
                                                                                                                                                                                                                                                 10.00
                                                                                                  7. Medical and dental expenses                                                                                                       $ ______________
                                                                                                                                                                                                                                                200.00
                                                                                                  8. Transportation (not including car payments)                                                                                       $ ______________
                                                                                                                                                                                                                                                300.00
                                                                                                  9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                  $ ______________
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                                                                                                                                                                                                                                                 60.00
                                                                                                  10.Charitable contributions                                                                                                          $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  11.Insurance (not deducted from wages or included in home mortgage payments)
                                                                                                             a. Homeowner’s or renter’s                                                                                                $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                             b. Life                                                                                                                   $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                             c. Health                                                                                                                 $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                             d.Auto                                                                                                                    $ ______________
                                                                                                                                                                                                                                                 80.00
                                                                                                             e. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  12.Taxes (not deducted from wages or included in home mortgage payments)
                                                                                                  (Specify)                                                                                                                            $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                                                                                                             a. Auto                                                                                                                   $______________
                                                                                                                                                                                                                                                472.46
                                                                                                             b. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                             c. Other                                                                                                                  $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  14. Alimony, maintenance, and support paid to others                                                                                 $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  15. Payments for support of additional dependents not living at your home                                                            $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                     $ ______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  17. Other                                                                                                                            $______________
                                                                                                                                                                                                                                                  0.00
                                                                                                  18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                                             $______________
                                                                                                                                                                                                                                              2,972.01
                                                                                                  if applicable, on the Statistical Summary of Certain Liabilities and Related Data)
                                                                                                  19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:
                                                                                                            None


                                                                                                  20. STATEMENT OF MONTHLY NET INCOME
                                                                                                          a. Average monthly income from Line 15 of Schedule I                                                                             3,289.55
                                                                                                                                                                                                                                    $ ______________
                                                                                                          b. Average monthly expenses from Line 18 above                                                                            $ ______________
                                                                                                                                                                                                                                           2,972.01
                                                                                                          c. Monthly net income (a. minus b.)                                                                                                317.54
                                                                                                                                                                                                                                    $ ______________
                                                                                                               Case 09-73631                 Doc 1     Filed 08/26/09 Entered 08/26/09 15:51:01                         Desc Main
                                                                                                                                                        Document     Page 22 of 39
                                                                                                        B6 Summary (Official Form 6 - Summary) (12/07)




                                                                                                                                              United States Bankruptcy Court
                                                                                                                                                        Northern District of Illinois
                                                                                                                    Victoria R. Barry
                                                                                                       In re                                                                                        Case No.
                                                                                                                                                        Debtor
                                                                                                                                                                                                    Chapter        7

                                                                                                                                                       SUMMARY OF SCHEDULES
                                                                                                  Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                  I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                  claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                  Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                             AMOUNTS SCHEDULED
                                                                                                                                                 ATTACHED
                                                                                                    NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER
                                                                                                    A – Real Property
                                                                                                                                                 YES                     1            $   217,914.00
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                                                                                                    B – Personal Property
                                                                                                                                                 YES                     4            $     79,916.07

                                                                                                    C – Property Claimed
                                                                                                        as exempt                                YES                     1

                                                                                                    D – Creditors Holding
                                                                                                       Secured Claims                            YES                     1                                  $     221,208.78

                                                                                                    E - Creditors Holding Unsecured
                                                                                                        Priority Claims                          YES                     2                                  $           0.00
                                                                                                       (Total of Claims on Schedule E)
                                                                                                    F - Creditors Holding Unsecured
                                                                                                        Nonpriority Claims                       YES                     2                                  $      35,723.83

                                                                                                    G - Executory Contracts and
                                                                                                        Unexpired Leases                         YES                     1

                                                                                                    H - Codebtors
                                                                                                                                                 YES                     1

                                                                                                    I - Current Income of
                                                                                                        Individual Debtor(s)                     YES                     1                                                        $     3,289.55

                                                                                                    J - Current Expenditures of Individual
                                                                                                        Debtors(s)                               YES                     1                                                        $     2,972.01


                                                                                                                                         TOTAL                           15           $   297,830.07        $     256,932.61
                                                                                                    Official Form09-73631
                                                                                                          Case    6 - Statistical Summary
                                                                                                                                  Doc 1 (12/07)
                                                                                                                                          Filed 08/26/09                        Entered 08/26/09 15:51:01          Desc Main
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                                                                                                                                        United States Bankruptcy Court
                                                                                                                                                          Northern District of Illinois

                                                                                                               In re       Victoria R. Barry                                                     Case No.
                                                                                                                                                         Debtor
                                                                                                                                                                                                 Chapter      7

                                                                                                  STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                       If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                  §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                  information here.

                                                                                                  This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                  Summarize the following types of liabilities, as reported in the Schedules, and total them.


                                                                                                     Type of Liability                                                           Amount

                                                                                                     Domestic Support Obligations (from Schedule E)                             $
                                                                                                                                                                                          0.00
                                                                                                     Taxes and Certain Other Debts Owed to Governmental Units (from             $
                                                                                                     Schedule E)
                                                                                                                                                                                          0.00
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                                                                                                     Claims for Death or Personal Injury While Debtor Was Intoxicated (from     $
                                                                                                     Schedule E) (whether disputed or undisputed)                                         0.00
                                                                                                     Student Loan Obligations (from Schedule F)                                 $         0.00
                                                                                                     Domestic Support, Separation Agreement, and Divorce Decree                 $
                                                                                                     Obligations Not Reported on Schedule E                                               0.00
                                                                                                     Obligations to Pension or Profit-Sharing, and Other Similar Obligations
                                                                                                                                                                                $         0.00
                                                                                                     (from Schedule F)

                                                                                                                                                                      TOTAL     $         0.00


                                                                                                    State the Following:
                                                                                                     Average Income (from Schedule I, Line 16)                                  $     3,289.55
                                                                                                     Average Expenses (from Schedule J, Line 18)                                $     2,972.01
                                                                                                     Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                     22B Line 11; OR, Form 22C Line 20 )                                        $
                                                                                                                                                                                      4,739.47



                                                                                                    State the Following:
                                                                                                     1. Total from Schedule D, “UNSECURED PORTION, IF
                                                                                                     ANY” column
                                                                                                                                                                                                 $     7,738.00

                                                                                                     2. Total from Schedule E, “AMOUNT ENTITLED TO                              $
                                                                                                     PRIORITY” column.
                                                                                                                                                                                          0.00

                                                                                                     3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                           $
                                                                                                     PRIORITY, IF ANY” column                                                                               0.00

                                                                                                     4. Total from Schedule F                                                                    $    35,723.83
                                                                                                     5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                $    43,461.83
                                                                                                                     Case
                                                                                                        B6 (Official Form 6 - 09-73631        Doc
                                                                                                                              Declaration) (12/07)                              1        Filed 08/26/09 Entered 08/26/09 15:51:01                                                                 Desc Main
                                                                                                                                                                                          Document     Page 24 of 39
                                                                                                                  Victoria R. Barry
                                                                                                        In re                                                                                                                                        Case No.
                                                                                                                                               Debtor                                                                                                                                   (If known)

                                                                                                                                        DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                       DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                            17 sheets, and that they
                                                                                                                   I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______
                                                                                                        are true and correct to the best of my knowledge, information, and belief.



                                                                                                         Date                                                                                                                 Signature:          /s/ Victoria R. Barry
                                                                                                                                                                                                                                                                                 Debtor:


                                                                                                         Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                        (Joint Debtor, if any)

                                                                                                                                                                                                                                     [If joint case, both spouses must sign.]
                                                                                                     -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                       I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                   compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                   110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                   by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                   accepting any fee from the debtor, as required by that section.
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                                                                                                   Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                   of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                    If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                    who signs this document.




                                                                                                    Address

                                                                                                    X
                                                                                                                         Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                  A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                  18 U.S.C. § 156.
                                                                                                  -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                        I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                  or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                  in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                  shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                  Date                                                                                                                 Signature:


                                                                                                                                                                                                                                        [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                   -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                          Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                           Case 09-73631
                                                                                                     B7 (Official Form 7) (12/07)
                                                                                                                                       Doc 1
                                                                                                                                           Filed 08/26/09 Entered 08/26/09 15:51:01 Desc Main
                                                                                                                                      UNITEDDocument       Page 25 of 39
                                                                                                                                              STATES BANKRUPTCY              COURT
                                                                                                                                               Northern District of Illinois

                                                                                                  In Re Victoria R. Barry                                                                              Case No.
                                                                                                                                                                                                                        (if known)


                                                                                                                                             STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                  This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                        the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                        information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                        filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                        provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                        indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                        or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                        R. Bankr. P. 1007(m).

                                                                                                                  Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                        must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                                                        additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
                                                                                                        case number (if known), and the number of the question.

                                                                                                                                                                     DEFINITIONS

                                                                                                                   "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                        individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                        the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                        the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
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                                                                                                        employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                        in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                    "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                        their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5
                                                                                                        percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of
                                                                                                        such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.



                                                                                                                   1. Income from employment or operation of business

                                                                                                                   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                   the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                       None        beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                   two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                   the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                   of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                   under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                   spouses are separated and a joint petition is not filed.)

                                                                                                                           AMOUNT                                                 SOURCE

                                                                                                            2009          32,754.24      DSM Desotech, Inc.
                                                                                                                                         Elgin, IL 6020

                                                                                                            2008          54,465.69      DSM Desotech, Inc.
                                                                                                                                         Elgin, IL 6020

                                                                                                            2007          54,712.00      DSM Desotech, Inc.
                                                                                                                                         Elgin, IL 6020
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                                                                                                            2.   Income other than from employment or operation of business

                                                                                                  None            State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                            of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                            particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                            12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                            separated and a joint petition is not filed.)

                                                                                                             AMOUNT                                                             SOURCE

                                                                                                     2008               4,342.00           Child Support

                                                                                                     2007               8,684.00           Child Support



                                                                                                            3. Payments to creditors
                                                                                                  None

                                                                                                            Complete a. or b., as appropriate, and c.
                                                                                                            a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                            goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                            this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                            Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                            or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                            counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
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                                                                                                            spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                  NAME AND ADDRESS OF CREDITOR                                 DATES OF                            AMOUNT              AMOUNT STILL
                                                                                                                                                               PAYMENTS                              PAID                 OWING


                                                                                                  US Bank                                             Regular Monthly Payments 2835.00 (1/2 pymt)                     198,320.78
                                                                                                  4801 Frederica Street
                                                                                                  Owensboro, KY 42301
                                                                                                  Fifth Third Bank                                    Regulalr Monthly Payments                   1,417.38             22,491.00
                                                                                                  38 Fountain Square Plaza
                                                                                                  MD 1-Com-64
                                                                                                  Cincinnati, OH 45263-0778
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                                                                                                  None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                           within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                           constitutes or is affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk
                                                                                                           (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                           alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                           (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                           spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                   NAME AND ADDRESS OF CREDITOR                               DATES OF                            AMOUNT               AMOUNT STILL
                                                                                                    AND RELATIONSHIP TO DEBTOR                                PAYMENTS                              PAID                  OWING



                                                                                                  None

                                                                                                           c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                           for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                           include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                           and a joint petition is not filed.)


                                                                                                   NAME AND ADDRESS OF CREDITOR                               DATES OF                       AMOUNT PAID             AMOUNT STILL
                                                                                                    AND RELATIONSHIP TO DEBTOR                                PAYMENTS                                                  OWING
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                                                                                                           4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                  None     a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                           preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                           information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                           and a joint petition is not filed.)


                                                                                                   CAPTION OF SUIT                 NATURE OF PROCEEDING                           COURT OR                                STATUS OR
                                                                                                  AND CASE NUMBER                                                            AGENCY AND LOCATION                          DISPOSITION

                                                                                                  Citibank v. Victoria R.       Lawsuit for money damages                       DeKalb County Circuit Court           Pending
                                                                                                  Barry                                                                         Sycamore, IL 60178
                                                                                                  #09 LM 393

                                                                                                  Chase Bank v. Victoria        Small Claims Action                             DeKalb County Circuit Court           Pending
                                                                                                  Barry                                                                         Sycamore, IL 60178
                                                                                                  #09 SC 952
                                                                                                     Case 09-73631             Doc 1         Filed 08/26/09 Entered 08/26/09 15:51:01                                  Desc Main
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                                                                                                  None    b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                          one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                          13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                          unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND ADDRESS OF                                        DATE OF                                        DESCRIPTION AND
                                                                                                   PERSON FOR WHOSE BENEFIT                                     SEIZURE                                       VALUE OF PROPERTY
                                                                                                     PROPERTY WAS SEIZED


                                                                                                          5.   Repossessions, foreclosures and returns

                                                                                                  None          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                          lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                          (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                          both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                      NAME AND                                 DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                     ADDRESS OF                                 FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                  CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                                          6. Assignments and Receiverships
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                                                                                                  None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                          the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                          assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                          joint petition is not filed.)


                                                                                                          NAME AND                                    DATE OF ASSIGNMENT                                   TERMS OF
                                                                                                         ADDRESS OF                                                                                       ASSIGNMENT
                                                                                                           ASSIGNEE                                                                                      OR SETTLEMENT


                                                                                                  None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                          year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                          must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                          the spouses are separated and a joint petition is not filed.)


                                                                                                          NAME AND                          NAME AND LOCATION                              DATE OF                DESCRIPTION AND
                                                                                                         ADDRESS OF                         OF COURT CASE TITLE                             ORDER                VALUE OF PROPERTY
                                                                                                         CUSTODIAN                               & NUMBER
                                                                                                     Case 09-73631             Doc 1        Filed 08/26/09 Entered 08/26/09 15:51:01                                 Desc Main
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                                                                                                          7.   Gifts

                                                                                                  None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                          case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                          member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                          12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                          unless the spouses are separated and a joint petition is not filed.)


                                                                                                         NAME AND                            RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                        ADDRESS OF                         TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                  PERSON OR ORGANIZATION


                                                                                                          8.   Losses

                                                                                                  None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                          commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                          chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                          separated and a joint petition is not filed.)


                                                                                                     DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                      AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                     OF PROPERTY                                   INSURANCE, GIVE PARTICULARS
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                                                                                                          9.   Payments related to debt counseling or bankruptcy

                                                                                                  None         List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                          for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                          bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                            NAME AND ADDRESS                         DATE OF PAYMENT,                               AMOUNT OF MONEY OR
                                                                                                                OF PAYEE                             NAME OF PAYOR IF                                 DESCRIPTION AND
                                                                                                                                                    OTHER THAN DEBTOR                                VALUE OF PROPERTY

                                                                                                  Richard H. Schmack                          6/19/09                                          $50.00
                                                                                                  584 West State Street
                                                                                                  Sycamore, IL 60178

                                                                                                  Richard H. Schmack                          7/15/09                                          $350.00
                                                                                                  584 West State Street
                                                                                                  Sycamore, IL 60178

                                                                                                  Richard H. Schmack                          7/24/09                                          $1,099.00
                                                                                                  584 West State Street
                                                                                                  Sycamore, IL 60178

                                                                                                  Family Service Agency of Greater            8/15/09                                          $50.00
                                                                                                  Elgin Area
                                                                                                  22 Spring Street
                                                                                                  Elgin, IL 60120
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                                                                                                            10. Other transfers

                                                                                                  None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                            of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                            of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                            whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                     NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                         RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                           VALUE RECEIVED


                                                                                                            b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                            to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                  None

                                                                                                         NAME OF TRUST OR OTHER DEVICE                               DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                                    TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                                    VALUE OF PROPERTY OR
                                                                                                                                                                                                 DEBTOR'S INTEREST IN PROPERTY


                                                                                                            11. Closed financial accounts
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                                                                                                  None            List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                            were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                            Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                            accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                            institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                            instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                            and a joint petition is not filed.)


                                                                                                           NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                          ADDRESS OF                           DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                          INSTITUTION                         AND AMOUNT OF FINAL BALANCE                                        OR CLOSING


                                                                                                            12. Safe deposit boxes

                                                                                                  None               List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                            valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                            chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                            is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND                       NAMES AND ADDRESSES OF                   DESCRIPTION OF              DATE OF
                                                                                                           ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                    CONTENTS                TRANSFER OR
                                                                                                         OR OTHER DEPOSITORY                     OR DEPOSITORY                                                SURRENDER, IF ANY
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                                                                                                           13. Setoffs

                                                                                                  None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                           preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                           information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                           and a joint petition is not filed.)


                                                                                                         NAME AND ADDRESS OF CREDITOR                                  DATE                                  AMOUNT
                                                                                                                                                                        OF                                      OF
                                                                                                                                                                      SETOFF                                  SETOFF

                                                                                                           14. Property held for another person

                                                                                                  None          List all property owned by another person that the debtor holds or controls.


                                                                                                             NAME AND                              DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                          ADDRESS OF OWNER                        VALUE OF PROPERTY


                                                                                                           15. Prior address of debtor
                                                                                                  None
                                                                                                                  If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                           premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
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                                                                                                           joint petition is filed, report also any separate address of either spouse.


                                                                                                          ADDRESS                                          NAME USED                                    DATES OF OCCUPANCY



                                                                                                           16. Spouses and Former Spouses
                                                                                                  None
                                                                                                               If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                           eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                           any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                         NAME


                                                                                                           17. Environmental Sites

                                                                                                           For the purpose of this question, the following definitions apply:

                                                                                                           "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                           releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                           other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                           wastes, or material.

                                                                                                                     "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                     presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                     "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                     hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                  None
                                                                                                           a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                           unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                           governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                           SITE NAME                        NAME AND ADDRESS                          DATE OF                  ENVIRONMENTAL
                                                                                                          AND ADDRESS                     OF GOVERNMENTAL UNIT                        NOTICE                        LAW
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                                                                                                          b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                          of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                  None

                                                                                                          SITE NAME                        NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                                         AND ADDRESS                     OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                                          c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                          with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                  None    was a party to the proceeding, and the docket number.


                                                                                                           NAME AND ADDRESS                                DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                         OF GOVERNMENTAL UNIT


                                                                                                          18. Nature, location and name of business

                                                                                                  None    a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                          businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                          managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                          other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                          which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                          preceding the commencement of this case.
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                                                                                                          If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                          beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                          voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                          If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                          beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                          voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                   NAME           LAST FOUR DIGITS OF                     ADDRESS                 NATURE OF BUSINESS BEGINNING AND
                                                                                                                  SOCIAL-SECURITY OR                                                                 ENDING DATES
                                                                                                                   OTHER INDIVIDUAL
                                                                                                                    TAXPAYER-I.D. NO.
                                                                                                                  (ITIN)/ COMPLETE EIN


                                                                                                          b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                          U.S.C. § 101.
                                                                                                  None

                                                                                                          NAME                                                                               ADDRESS




                                                                                                                      [Questions 19 - 25 are not applicable to this case]
                                                                                                                                            *    *    *    *   *    *
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                                                                                                               [If completed by an individual or individual and spouse]

                                                                                                               I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                               thereto and that they are true and correct.
                                                                                                                                                                                                             /s/ Victoria R. Barry
                                                                                                  Date                                                                            Signature
                                                                                                                                                                                  of Debtor                  VICTORIA R. BARRY




                                                                                                                                                                          0 continuation sheets attached
                                                                                                                                                                        _____


                                                                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                          DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                       I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                  compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
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                                                                                                  rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                  have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                  in that section.




                                                                                                  Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
                                                                                                  If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                  partner who signs this document.




                                                                                                  Address

                                                                                                  X
                                                                                                  Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                  Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                  not an individual:

                                                                                                  If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                  A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                  or imprisonment or both. 18 U.S.C. §156.
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                                                                                                                                       UNITED STATES BANKRUPTCY COURT
                                                                                                                                                    Northern District of Illinois
                                                                                                          Victoria R. Barry
                                                                                                  In re                                                            ,         Case No.
                                                                                                                                  Debtor                                                       Chapter 7



                                                                                                                           CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                   PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                   secured by property of the estate. Attach additional pages if necessary.)


                                                                                                     Property No. 1
                                                                                                    Creditor's Name:                                                    Describe Property Securing Debt:
                                                                                                     US Bank                                                             Homestead Real Estate owned jointly with
                                                                                                     4801 Frederica Street                                               Steven P. Guthrie
                                                                                                     Owensboro, KY 42301

                                                                                                     Property will be (check one):
                                                                                                               Surrendered                              Retained

                                                                                                     If retaining the property, I intend to (check at least one):
                                                                                                                Redeem the property
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                                                                                                                Reaffirm the debt
                                                                                                                Other. Explain _______________________________________________(for example, avoid lien
                                                                                                     using 11 U.S.C. §522(f)).

                                                                                                     Property is (check one):
                                                                                                                Claimed as exempt                                      Not claimed as exempt



                                                                                                     Property No. 2 (if necessary)
                                                                                                    Creditor's Name:                                                    Describe Property Securing Debt:
                                                                                                      Fifth Third Bank                                                   2008 Jeep Liberty
                                                                                                      38 Fountain Square Plaza
                                                                                                      MD 1-Com-64
                                                                                                      Cincinnati, OH 45263-0778


                                                                                                     Property will be (check one):
                                                                                                               Surrendered                              Retained

                                                                                                     If retaining the property, I intend to (check at least one):
                                                                                                                Redeem the property
                                                                                                                Reaffirm the debt
                                                                                                                Other. Explain _______________________________________________(for example, avoid lien
                                                                                                     using 11 U.S.C. §522(f)).

                                                                                                     Property is (check one):
                                                                                                                Claimed as exempt                                      Not claimed as exempt
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                                                                                                      PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                      Each unexpired lease. Attach additional pages if necessary.)



                                                                                                        Property No. 1           NO Leased Property
                                                                                                       Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                             to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                YES              NO


                                                                                                        Property No. 2 (if necessary)
                                                                                                       Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                             to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                YES              NO


                                                                                                        Property No. 3 (if necessary)
                                                                                                       Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                             to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                YES              NO

                                                                                                        0
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                                                                                                       ______ continuation sheets attached (if any)

                                                                                                      I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                      Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                      Date:_____________________________                            /s/ Victoria R. Barry
                                                                                                                                                                 Signature of Debtor




                                                                                                                                                                 Signature of Joint Debtor
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                                                                                                                                    UNITED STATES BANKRUPTCY COURT
                                                                                                                                              Northern District of Illinois
                                                                                                               NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                                             OF THE BANKRUPTCY CODE
                                                                                                            In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                                                   Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                                                   costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                                                   notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                                                           You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                                                   advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                                                   cannot give you legal advice.

                                                                                                            Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                                                   ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                                                   court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                                                   each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                                                   receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
                                                                                                   statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                                                  1. Services Available from Credit Counseling Agencies
                                                                                                           With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
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                                                                                                  bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
                                                                                                  counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
                                                                                                  the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
                                                                                                  or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
                                                                                                  trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved
                                                                                                  budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                                                          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                                                  management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                                                  financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                                                  2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                                                            Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                                                            1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                                                  Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                                                  should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                                                  residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case
                                                                                                  under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
                                                                                                            2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                                                  right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
                                                                                                            3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                                                  have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
                                                                                                  and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                                                            4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                                                  may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                                                  and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                                                  which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
                                                                                                  vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
                                                                                                  breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
                                                                                                  not discharged.
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                                                                                                          Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                                                  $39 administrative fee: Total fee $274)
                                                                                                          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
                                                                                                  their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain
                                                                                                  dollar amounts set forth in the Bankruptcy Code.
                                                                                                          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
                                                                                                  owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                                                  depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                                                          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                                                  obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                                                  properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                                                  secured obligations.

                                                                                                          Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                                                          Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
                                                                                                  are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                                                          Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                                                          Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                                                  future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                                                  income arises primarily from a family-owned farm or commercial fishing operation.

                                                                                                  3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
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                                                                                                           A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                                                  perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                                                  information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                                                  acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                                                  employees of the Department of Justice.

                                                                                                  WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                                                  creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                                                  information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
                                                                                                  local rules of the court.
                                                                                                                                   Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                                                            I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor
                                                                                                  this notice required by § 342(b) of the Bankruptcy Code.
                                                                                                  ________________________________________                                ___________________________________
                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer         Social Security number (If the bankruptcy petition
                                                                                                  Address:                                                                preparer is not an individual, state the Social Security
                                                                                                  ________________________________________                                number of the officer, principal, responsible person, or partner of
                                                                                                                                                                          the bankruptcy petition preparer.) (Required
                                                                                                  X_______________________________________                                by 11 U.S.C. § 110.)
                                                                                                  Signature of Bankruptcy Petition Preparer or officer,
                                                                                                  principal, responsible person, or partner whose Social
                                                                                                  Security number is provided above.

                                                                                                                                                           Certificate of the Debtor
                                                                                                           I (We), the debtor(s), affirm that I (we) have received and read this notice.

                                                                                                  Victoria R. Barry
                                                                                                  ______________________________________________                              /s/ Victoria R. Barry
                                                                                                                                                                            X___________________________________
                                                                                                  Printed Name(s) of Debtor(s)                                              Signature of Debtor     Date

                                                                                                  Case No. (if known) ____________________                                  X___________________________________
                                                                                                                                                                            Signature of Joint Debtor (if any) Date
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         Chase
         Cardmember Service
         P.O.Box 15153
         Wilmington, DE 19886-5153


         Chase
         Cardmember Service
         P.O.Box 15153
         Wilmington, DE 19886-5153


         Citi Bank / DFS
         12234 NIH 35 Bldg B
         Austin, TX 78753-1705


         Citi Card
         Box 6000
         The Lakes, NV 89163-6000


         Corporate America Family C. U.
         2075 Big Timber Road
         Elgin, IL 60123


         Fifth Third Bank
         38 Fountain Square Plaza
         MD 1-Com-64
         Cincinnati, OH 45263-0778


         Lowe's Customer Care
         CONB
         P.O.Box 1111
         North Wilkerson, NC 28656


         Steven P. Guthrie
         422 Riverbend Drive
         Genoa, IL 600135


         US Bank
         4801 Frederica Street
         Owensboro, KY 42301
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                                                                                                                                                    United States Bankruptcy Court
                                                                                                                                                                         Northern District of Illinois
                                                                                                          In re Victoria R. Barry                                                                         Case No. ____________________
                                                                                                                                                                                                          Chapter           7
                                                                                                                                                                                                                       ____________________
                                                                                                          Debtor(s)
                                                                                                                               DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                  1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                          and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                          rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                          For legal services, I have agreed to accept .............................                                1,200.00
                                                                                                                                                                                                        .... $ ______________

                                                                                                          Prior to the filing of this statement I have received ..........                                             1,200.00
                                                                                                                                                                                             ................... $ ______________

                                                                                                          Balance Due ......................................                                                                0.00
                                                                                                                                                                                             .................... $ ______________

                                                                                                  2.      The source of compensation paid to me was:

                                                                                                                                Debtor                         Other (specify)
                                                                                                  3.      The source of compensation to be paid to me is:
                                                                                                                                Debtor                         Other (specify)

                                                                                                  4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                                                  associates of my law firm.
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                                                                                                             I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                  of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                  5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                           a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                           b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                           c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                                                   6.        By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                                                                                                      CERTIFICATION

                                                                                                                   I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                debtor(s) in the bankruptcy proceeding.

                                                                                                                                                                                            /s/ Richard H. Schmack
                                                                                                                ____________________________________                                      __________________________________________________
                                                                                                                               Date                                                                           Signature of Attorney

                                                                                                                                                                                           __________________________________________________
                                                                                                                                                                                                            Name of law firm
